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                               Ciresi Conlin LLP




                              July 30, 2018


                              The Honorable Patrick J. Schiltz
                              United States District Court
                              14E U.S. Courthouse
Andrew 1-1. Mohring
                              300 South Fourth Street
Partner                       Minneapolis, MN 55415
E: AHM@CiresiConlin.com
P: 612-361-8230
                              Re: Ligons, et al. v. Minnesota Department of Corrections, et al.
                                  Court File No. 15-CV-2210 (PJSIBRT)
225 South 6th St.
Suite 4600
Minneapolis. MN 55402
                              Dear Judge Schiltz:
612-361-8200
CiresiConlin.com              At the hearing on July 27, 2018 in this case, the Court asked about cases
                              that discuss pre-certification mootness. The cases listed below respond to
                              the Court's inquiry.

                              Gerstein v. Pugh, 420 U.S. 103, 111 n. 11 (1975).
                              Zeidman v. J Ray McDermott & Co., 651 F.2d 1030, 1045 (5th Cir. 1981).
                              Pitts v. Terrible Herbst, Inc., 653 F.3d 1081, 1089 (9th Cir. 2011 ).
                              Lucero v. Bureau of Collection Recovery, Inc., 639 F.3d 1239, 1249-50
                              (10th Cir. 2011).
                              Chimenti v. Wetzel, No. CV 15-3333, 2018 WL 3388305, at *5 (E.D. Pa.
                              July 12, 2018).
                              Hoffer v. Jones, 323 F.R.D. 694, 700 n. 6 (N.D. Fla. 2017).
                              Ung v. Universal Acceptance Corp., 190 F. Supp. 3d 855, 862 (D. Minn.
                              2016).
                              Epps v. Wal-Mart Stores, Inc., 307 F.R.D. 487,495 (E.D. Ark. 2015).
                              Harris v. Messerli & Kramer, P.A., No. CIV 06CV4961 PJS/JJG, 2008
                              WL 508923, at *4 (D. Minn. Jan. 2, 2008).
                              Jancik v. Cavalry Portfolio Servs., LLC, No. CIV.06-3104(MJD/AJB),
                              2007 WL 1994026, at *4 (D. Minn. 2007).
                              Bishop's Prop. & Investments, LLC v. Protective Life Ins. Co., 463 F.
                              Supp. 2d 1375, 1382 (M.D. Ga. 2006).
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Sosna v. Iowa, 419 U.S. 393,402 n. 11 (1975).
Deposit Guar. Nat. Bank, Jackson, Miss. v. Roper, 445 U.S. 326, 339 (1980).
U.S. Parole Comm'n v. Geraghty, 445 U.S. 388, 398 (1980).
Susman v. Lincoln Am. Corp., 587 F.2d 866,869 (7th Cir. 1978).

Please let me know if you wish additional information or input.


Sincerely,


Isl Andrew H Mohring

Andrew H. Mohring


cc:    Kathryn Fodness
       Kelly S. Kemp
       Peter J. Nickitas
       Carl Peter Erlinder
       Katie Crosby Lehman
       Esther 0. Agbaje
